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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 21- 20086-Civ-COOKE/O’SULLIVAN

   NEWTON GOMEZ, an individual,

          Plaintiff,
    v.

   TEAM AMERICA MIAMI, INC., a New
   York Corporation,

         Defendant.
   ______________________________________/

                                      AMENDED COMPLAINT

          Comes now NEWTON GOMEZ on behalf of himself hereby files this Amended Complaint

   against TEAM AMERICA MIAMI, INC., and alleges as follows:

          1.      This is an action under Title VII of the Civil Rights Act of 1964, as amended, and

   Title I of the Civil Rights Act of 1991, to correct unlawful employment practices on the basis of

   national origin, Hispanic, and race, and to provide appropriate relief to the Plaintiff.

                               JURISDICTION, PARTIES, AND VENUE

          2.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §451, 1331, 1337,

   1343, 1345. This action is authorized and instituted pursuant to Section 706(f)(1) and (3) of the

   Civil Rights Act of 1964, as amended, (“Title VII”), 42 U.S.C §2000e-5(f) (1) and (3), Section

   102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a, 28 U.S.C. §§ 1331, 1367 and 1343.

          3.      The employment practices alleged to be unlawful were committed in Miami-Dade

   County, Florida and within the jurisdiction of the United States District Court for the Southern

   District of Florida. Venue is proper pursuant to 28 U. S. C. § 1391 and 42 U.S.C. § 2000(f)(3).

          4.      Plaintiff, NEWTON GOMEZ, is an individual sui juris residing in Miami-Dade

   County, Florida.
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          5.      At all relevant times, Defendant, TEAM AMERICA MIAMI, INC., a New York

   Corporation, has continuously done a significant amount of business in the state of Florida and

   within Miami-Dade County, Florida, has maintained an office in Miami-Dade County, and has

   continuously had at least fifteen (15) employees.

          6.      At all relevant times, Defendant, TEAM AMERICA MIAMI, INC., has

   continuously been an employer engaged in an industry affecting interstate commerce under

   Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §2000e-(b), (g) and (h).

          7.      More than thirty (30) days prior to the institution of this lawsuit, NEWTON

   GOMEZ, filed a charge with the Commission alleging that the Defendant violated Title VII of the

   Civil Rights Act of 1964, as amended.

          8.      On October 19, 2020, the Equal Employment Opportunity Commission issued a

   Right to Sue Letter/Notice to the Plaintiff. Attached hereto as Exhibit A.

          9.      All conditions precedent to the institution of this lawsuit have been timely fulfilled.

                                       STATEMENT OF FACTS

          10.     NEWTON GOMEZ (hereinafter “Plaintiff” or “GOMEZ”) was employed by the

   Defendant, TEAM AMERICA MIAMI, INC. (HEREINAFTER “Defendant” or “TEAM

   AMERICA”), during all times material to this EEOC complaint and resulting Action from or about

   March 2014 until February 28, 2020.

          11.     GOMEZ held the title of Team Leader for Spain and South America and Revenue

   Analyst; he held both titles concurrently throughout the course of his employment with TEAM

   AMERICA

          12.     GOMEZ began his career with TEAM AMERICA in their New York office and in

   August of 2014 he made the move from TEAM AMERICA’s New York office to its South Florida



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   Office located at 1849 James Avenue, Miami Beach, Florida and by agreement, he worked from

   home.

           13.     Plaintiff GOMEZ’s national origin in Dominican. Plaintiff GOMEZ also identifies

   as Black.

           14.     At all material times, GOMEZ was one of the few non-Italian or Italian descended

   employees, and among an even smaller subsect of Black employees.

           15.     Management for the company was comprised of white persons who were Italian or

   of Italian descent.

           16.     Throughout his employment with TEAM AMERICA, GOMEZ was subjected to

   disparate treatment from his white counterparts and differently from the Italian and Italian

   Americans counterparts.

           17.     TEAM AMERICA, as part of its company customs, rewarded employees with a

   pay supplement upon the employee reaching the ten (10) and fifteen (15) year anniversary marks,

   respectively.

           18.     When GOMEZ reached his ten (10) year mark he expected that he would receive

   the same pay supplement paid out to other employees, specifically FIVE-THOUSAND

   DOLLARS ($5,000.00).

           19.     However, GOMEZ never received the FIVE-THOUSAND DOLLARS ($5,000.00)

   or any other pay supplement marking his commitment to TEAM AMERICA, unlike his white, and

   white Italian American counterparts.

           20.     When GOMEZ approach the General manager regarding the situation and she

   simply advised GOMEZ that the company does as it pleases.




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             21.   The following day Mr. Enzo, TEAM AMERICA’s CEO, conducted a general

   meeting where he stated that he gives bonuses to whomever he wants and that, TEAM AMERICA

   is his company. This was directed to the Plaintiff who had just asked for his bonus. TEAM

   AMERICA’s behavior served to publicly humiliate Plaintiff.

             22.   When the company struggled financially in May of 2017, GOMEZ was targeted for

   a reduction in pay which GOMEZ was forced to agree to at the time for fear of being terminated.

             23.   GOMEZ was menaced by TEAM AMERICA to think carefully before making a

   decision on the pay cut. This was a tacit threat direct at Plaintiff.

             24.   TEAM AMERICA’s Human Resources Department advised GOMEZ that if he

   refused to reply it would be deemed that he did not agree, and adverse action would be taken

   against him.

             25.   Meanwhile, the white Italian and white Italian-Americans at the company did not

   receive a salary reduction, specifically white employees and/or employees of Italian American

   origin.

             26.   As part of the reduction, GOMEZ was promised that the reduction would only be

   temporary and once the financial difficulties passed, GOMEZ’s salary would be increased.

             27.   At that point, GOMEZ had spent nine (9) years without any raise. Shortly after

   targeting GOMEZ for a reduction in pay, TEAM AMERICA hired new employees.

             28.   GOMEZ never received the promised return to his previous salary, even though

   after six (6) months of GOMEZ’s pay cut, the company began to improve its financial situation

   enough to provide a raise to the entire company with raises across the board on or about March 4,

   2019.




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          29.     GOMEZ received a 2% increase while most employees received a 4% increase or

   more on or about March of 2019. Most of the white, Italian Americans received the higher

   percentages. Even with the increase, it did not return GOMEZ to his previous rate of pay, meaning

   he was earning less than his similarly situated white, Italian and Italian-American colleagues.

          30.     GOMEZ believes that he was singled out for this pay cut based on his race and

   national origin as the only Dominican and person of color who received such a pay cut.

          31.     The disparate treatment of GOMEZ persisted, and he was continually singled out

   on the basis of his race, ethnicity and national origin.

          32.     GOMEZ’s manager, Nicole Bosco, would single out GOMEZ in e-mail

   communications copying Human Resources, questioning his whereabouts. This was not done to

   his white, Italian or Italian-American counterparts.

          33.     This treatment was constant and continued up to the date of GOMEZ’s termination.

          34.      Ms. Bosco did not treat white and/or Italian American employees the same and in

   fact treated them more favorably.

          35.     TEAM AMERICA’s unlawfully discriminatory conduct toward GOMEZ included

   micromanaging GOMEZ in a bad faith attempt to find fault in his work and performance, this

   treatment was disparate as compared to his white, Italian and Italian-American counterparts who

   were not managed or treated in this manner.

          36.     For example, even in instances when GOMEZ had replied to various e-mail

   exchanges where Ms., Nicole Bosco was copied, Ms. Bosco would still send e-mail

   correspondence, copying human resources, inquiring as to whether GOMEZ was working,

   humiliating GOMEZ and subjecting him to a different standard from his white, Italian and Italian

   American co-workers.



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           37.       GOMEZ was subjected to disparate treatment in the enforcement of workplace

   policies.

           38.       On or about January 15,2020 when GOMEZ called out of work for a sick day, Ms.

   Bosco insisted that GOMEZ continue working as he was being paid for the day, despite the fact

   that the company regularly paid his white, Italian and Italian American co-workers when they

   called in sick.

           39.       When GOMEZ approached human resources with his concerns that Ms. Bosco was

   forcing him to work on days he should otherwise have off, human resources advised GOMEZ that

   he must do as with Ms. Bosco required.

           40.       TEAM AMERICA had a “first come, first served” policy when it comes to vacation

   requests among the employees; and if one employee requested a holiday in the previous year that

   employee must give fellow employees the opportunity to request the holiday.

           41.       Accordingly, GOMEZ followed the policy and waited for his colleagues to request

   their vacation days in 2020, prior to requesting his.

           42.       When the vacation requests for his colleagues were made, on or about February 18,

   2021 GOMEZ requested a vacation period from December 28, 2020 through January 5, 2021.

           43.       Ms. Bosco denied GOMEZ’s vacation request stating that December 31, 2020 was

   a holiday.

           44.       In an e-mail exchange with Ms. Bosco, where human resources was also copied,

   GOMEZ advised Ms. Bosco that TEAM AMERICA did not consider December 31 a holiday and

   after consulting the employee handbook, he explained that December 31 was not a holiday

   pursuant to the employee handbook and provided a copy of the holidays, for Ms. Bosco reference

   and to clarify any confusion.



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          45.     As a result of the exchange, Ms. Bosco declared that going forward December 31

   was a holiday and denied GOMEZ’s vacation request. No white or white Italian/Italian Americans

   were subjected to such an inquiry or policy in regard to vacation dates submitted on dates that were

   not designated as holidays in the employee handbook.

          46.     GOMEZ again contacted human resources concerned that Ms. Bosco was applying

   a different holiday policy to him and was advised that Ms. Bosco had the discretion to do so, as

   his manager.

          47.     Shortly after the exchange between Ms. Bosco and GOMEZ regarding the company

   vacation policy, GOMEZ was terminated. On February 28, 2020, GOMEZ received a letter from

   TEAM AMERICA as formal notice of his termination.

          48.     Prior to that, GOMEZ received a message via SMS text from TEAM AMERICA’s

   President, Enzo Perretta requesting that GOMEZ call him.

          49.     Once he did, Mr. Perretta informed him of the company’s decision to terminate his

   employment.

          50.     TEAM AMERICA unlawfully treated GOMEZ detrimentally different based on

   his race, ethnicity and national origin.

          51.     GOMEZ was consistently subjected to disparate treatment throughout his

   employment with TEAM AMERICA, this disparate treatment of GOMEZ affected his salary,

   bonuses, and even the days he could request for time-off based on his being a Hispanic of

   Dominican origin and black.

          52.     TEAM AMERICA had a two-tiered system in terms of its applying and enforcing

   its employee handbook, one which would apply policies to GOMEZ based on his race and national




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   origin, and a different more favorable policy codified in its employee handbook for his white,

   Italian and Italian-American colleagues.

          53.     GOMEZ has suffered and continues to suffer damages, to include lost past and

   future income, and emotional damage, because of the prolonged and intentional unlawful

   discrimination he suffered at the hands of Defendant, TEAM AMERICA’s, managers throughout

   his employment there.

          54.     Defendant, TEAM AMERICA MIAMI, INC., is a foreign corporation organized

   under the laws of New York.

          55.     Plaintiff has attempted to serve Defendant, TEAM AMERICA MIAMI, INC.,

   multiple times, throughout two (2) states, in spite of that Defendant TEAM AMERICA MIAMI,

   INC. has evaded service.

          56.     Defendant, TEAM AMERICA MIAMI, INC. lists a registered agent address as

   1850 Collins Avenue, Miami Beach, Florida 33139.

          57.     Plaintiff’s process server has attempted service at that location multiple times at

   varying hours and found it to be the site of a hotel which is currently closed and found no signage

   or sign that Defendant TEAM AMERICA MIAMI, INC. has any presence there. In fact, when one

   process server inquired at a restaurant, the process server noted that the hotel had been closed for

   some time.

          58.     In February of 2021, Defendant TEAM AMERICA MIAMI, INC. filed an Annual

   Report with the Florida Division of Corporations claiming that the address for its registered agent

   was 1850 Collins Avenue, Miami Beach, Florida.




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          59.     Plaintiff’s process server has attempted service at this location after this date and

   found no signs for TEAM AMERICA MIAMI, INC. or anyone working at the location, which

   appears to be the site of a closed hotel, pursuant to the process server.

          60.     Plaintiff has attempted service at the offices for TEAM AMERICA MIAMI, INC.

   in New York, but those appear to be closed.

          61.     Plaintiff has attempted to serve Vincenzo Perretta, the registered agent and sole

   corporate officer for TEAM AMERICA MIAMI, INC. at homes in Miami, Florida and New York

   City, New York, without success.

          62.     Plaintiff’s process servers have attempted to call Defendant TEAM AMERICA

   MIAMI, INC.

          63.     Plaintiff’s counsel has sent e-mail correspondence to e-mail an address associated

   with Vincenzo Perretta pursuant to TEAM AMERICA MIAMI, INC.’s website, and has not

   received a response.

          64.     Plaintiff has sent correspondence to TEAM AMERICA MIAMI, INC. at its New

   York address, the address of its registered agent in Miami, and several addresses associated with

   Vincenzo Perretta in Miami, Florida and New York and all correspondence has been returned to

   sender, some with notes from the United States Postal Service noting that the delivery was refused.

          65.     Plaintiff believes that Defendant TEAM AMERICA MIAMI, INC. and its

   registered agent Vincenzo Perretta are secreting themselves to evade service of this lawsuit.

          66.     Plaintiff has employed multiple process servers across two (2) states in an attempt

   to serve this lawsuit, and none of the process servers have been able to perfect service on

   Defendant, a corporate entity.




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           67.    Despite due diligence, Plaintiff has been unable to locate and serve Defendant

   TEAM AMERICA MIAMI, INC. or its registered agent and sole corporate officer Vincenzo

   Perratta.

                                       STATEMENT OF CLAIMS

           COUNT I-HOSTILE WORK ENVIRONMENT - DISPARATE TREATMENT

           68.        The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

    through 53 above as though fully set forth herein.

           69.    Since on or about August 2014, Defendant has engaged in unlawful employment

    practices at their establishment in Miami-Dade County, Florida, in violation of Section 703(a) of

    Title VII, 42 U.S.C. § 2000e-2(a), by subjecting GOMEZ to a hostile work environment, based

    upon his Dominican national origin, Hispanic ethnicity, and his Black race. Defendant’s conduct,

    the totality of which created the hostile work environment included but was not limited to:

                 a.    Failing to award GOMEZ the bonuses he was entitled to as an employee;

                 b.    Failing to fairly and adequately compensate GOMEZ;

                 c.    Treating GOMEZ as less trustworthy than his white, Italian and Italian-

                       American counterparts, by questioning his whereabouts regularly, despite

                       always receiving satisfactory answers;

                 d.    Applying different policies for time-off and vacations for GOMEZ as opposed

                       to his white, Italian and Italian-American counterparts;

                 e.    different standards of performance, discipline, demotion and other adverse

                       employment actions imposed on Dominican and Black employees; and

                 f.    Disparate treatment in terms and conditions of employment unfairly damaging

                       (financially and psychologically) and detrimentally affecting GOMEZ.

           70.    The unlawful actions and employment practices detailed above in paragraphs 1

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   through 53 by Defendant, TEAM AMERICA, were intentional and were done with malice or with

   reckless indifference to the federally protected rights of Plaintiff GOMEZ.

                                        PRAYER FOR RELIEF

          WHEREFORE, the Plaintiff, NEWTON GOMEZ, respectfully requests that this Court:

   A. Grant a permanent injunction enjoining Defendant, their officers, agents, servants, employees,

   attorneys, successors, assigns, and all persons in active concert or participation with them, (1) from

   engaging in any employment practice which discriminates on the basis of national origin, (2) from

   maintaining a hostile work environment based on his Dominican national origin and his race; and

   (3) from any other employment practice which discriminates on the basis of national origin,

   Dominican, or race,      or which facilitates, condones, or encourages national origin-based

   harassment, and/or retaliation against employees who oppose or complain about such

   discrimination and harassment;


   B. Order Defendant to institute and carry out policies, practices, and programs which provide equal

   employment opportunities and a non-hostile work environment for people of Dominican National

   origin and Black, and for employees who oppose or complain about discrimination, and which

   eradicate the effects of its past and present unlawful employment practices;


   C. Order Defendant to make whole the Plaintiff by providing appropriate back pay with

   prejudgment interest, in amounts to be determined at trial, and other affirmative relief necessary

   to eradicate the effects of its unlawful employment practices, including but not limited to

   reinstatement of the Plaintiff who were terminated, or a reasonable amount of front pay in lieu

   thereof;




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   D. Order Defendant to make whole the Plaintiff by providing compensation for past and future

   pecuniary losses resulting from the unlawful employment practices described above, in amounts

   to be determined at trial;


   E. Order Defendant to make whole the Plaintiff by providing compensation for past and future

   non-pecuniary losses resulting from the unlawful practices complained of, including but not

   limited to, emotional pain, suffering, inconvenience, mental anguish, and loss of enjoyment of life,

   in amounts to be determined at trial;


   F. Order Defendant to pay the Plaintiff punitive damages for intentional conduct that was

   committed with malice and/or reckless indifference to the federally protected rights of GOMEZ,

   and in amounts to be determined at trial;


   G. Grant such further relief as the Court deems necessary and proper in the public interest; and

   H. Award the Plaintiff reasonable attorney’s fees and costs in this Action pursuant to federal law,

   to include Title VII of the Civil Rights Act of 1964, as amended; Title I of the Civil Rights Act of

   1991; and 42 U.S.C. § 12205.

                                       JURY TRIAL DEMAND

   The Commission requests a jury trial on all questions of fact raised by its complaint.


          Dated: August 17th, 2021
                                                 GARCIA-MENOCAL & PEREZ, P.L.
                                                 Attorneys for Plaintiff
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                                      By: ___/s/_Anthony J. Perez________
                                             ANTHONY J. PEREZ
                                             Florida Bar No.: 535451
                                             BEVERLY VIRUES
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